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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
DECISION AND ORDER
vs. REGARDING RKKS REPORT
EUGENE JAMAR THOMAS, 21-CR-6120-CJS-MJP
21-MJ-564-MJP
Defendant. 21-MR-6097-EAW

 

Pedersen, M.J. In a Decision and Order, dated May 19, 2021, the Honorable
Elizabeth A. Wolford, Chief Judge, affirmed a portion of the undersigned’s Decision
and Order, dated Apr. 28, 2021, directing the United States Parole Office (“(USPO”)
to edit its release form to remove a reference to “test results (e.g., psychological,
psycho-physiological measurements, and vocational evaluations.).” (ECF No. 8 in 21-
MR-6097-EAW.) Judge Wolford additionally affirmed the undersigned’s finding that
a defendant’s “diagnosis” and “prognosis” should not be removed from USPO’s release
form. (Id. at 9.) However, Judge Wolford also indicated

it may well be that other aspects of the evaluation should be disclosed
to be in compliance with Defendant’s pretrial release conditions. Since
it is not even clear here that the provider with whom Defendant has
scheduled an appointment will prepare a written evaluation, the Court
hesitates to opine further on other aspects of the evaluation that the
USPO should receive. Particularly, since it does not appear that the
issue was specifically addressed by Judge Pedersen, the Court concludes
that the more prudent course is for that issue to be revisited with Judge
Pedersen, if necessary.

(id. at 12.)
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Defendant underwent an evaluation by a Mental Health Counselor at RKKS
Mental Health Counseling, PLLC, and the counselor issued a report, dated June 22,
2021 (“RKKS Report”). The undersigned provided defense counsel with the
opportunity to provide Defendant’s position regarding which portions of the RKKS
Report should be disclosed to the USPO and the government in compliance with the
USPO release, and defense counsel submitted a redacted version of the report. (Email
from S. Zoghlin to the Court (Aug. 9, 2021 12:48 PM) with attached redacted copy of
RKKS Report.)) The undersigned thereafter issued an Order noting that defense
counsel objected to disclosing information falling under the section of the RKKS
Report entitled “Psychosocial Summary,” containing the following subsections:

Family History, Social Influences, Educational and Employment

History, Medical History, Mental Health History, Drug and Alcohol

History, and Legal History.

(ECF No. 29 at 1-2 in 21-CR-6120-CJS-MJP.) The undersigned invited the U.S.
Attorney and the USPO to discuss and comment on the subsections that defense
counsel proposed be redacted. (Id. at 2.) Importantly, the undersigned noted that the
proposed redactions do not include information regarding testing or progress notes.
(id.)

The USPO submitted a Memorandum to the undersigned, dated September 10,
2021, in which it asserted its position that all information redacted by defense counsel
should be disclosed. (Memorandum from U.S. Probation Officer Sarah C. Whitcomb

to the Court.) The government also submitted its Response to the Court’s Order

Regarding RKKS Report, dated September 10, 2021, in which it echoed the position
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of the USPO that the redacted information be disclosed to aid the USPO in ensuring
that Defendant has complied with the conditions of his pretrial release. (ECF No. 31
at 2-3 in 21-CR-6120-CJS-MJP.) Finally, defense counsel submitted correspondence
to the Court further arguing that the proposed redaction is appropriate to protect
Defendant’s right to confidentiality in his mental health records and his right to
remain silent. (Corres. from S. Zoghlin to the Court at 2, dated Sept. 17, 2021, ECF
No. 32 in 21-CR-6120-CJS-MJP.)

After reviewing the forgoing, the undersigned finds that the full, unredacted
RKKS Report shall be provided to the USPO and the government. The undersigned
finds that the proposed redacted information is not testing data but can more properly
be described as prognosis and diagnosis information, which both the undersigned and
Judge Wolford found is proper to disclose. The undersigned finds that it is prudent
for the USPO to have access to the full RKKS Report to effectively monitor
Defendant’s compliance with the conditions of his release and advise the Court on
whether, in light of the information in the RKKS Report, the recommended conditions
are appropriate. Accordingly, defense counsel is directed to provide the full,
unredacted RKKS Report to the USPO and the government. This Order is stayed for
14 days to permit Defendant time to appeal it, should he so wish,

ITIS SO ORDERED.

DATED: September2Z,3, 2021
Rochester, New York

MARK W. PEDERSEN
United States Magistrate Judge
